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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 22-mj-576 (TNL)

 UNITED STATES OF AMERICA,                       )
                                                 )
                      Plaintiff,                 )
                                                 )
        v.                                       )
                                                       ORDER OF DETENTION
                                                 )
 DANIEL JAMES HART, JR.,                         )
                                                 )
                      Defendant,                 )
                                                 )

       This matter came before the Court on July 20, 2022, for a preliminary hearing and

upon the motion of the United States for an Order of Detention. Mr. Hart was present via

Zoom and represented by his attorney, Andrew Irlbeck. The United States was represented

by Assistant United States Attorney Justin A. Wesley.

       Mr. Hart is charged by Complaint with one count of felon in possession of a firearm.

At the hearing, Mr. Hart knowingly, voluntarily, and intelligently waived his right to a

preliminary hearing. The Court concluded that probable cause exists to believe Mr. Hart

committed the offense charged.

       Regarding the issue of detention, the Court heard testimony, received government

Exhibits 1 through 5, received defense Exhibits 1 through 4, reviewed the complaint and

affidavit, and heard proffered evidence and arguments from the attorneys. Pre-trial services

also interviewed Mr. Hart and issued a report recommending detention, finding that he

presented a risk of non-appearance and a danger to the community.
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       Based on all the information before the Court, the Court concludes that there has

been a clear and convincing showing that no condition or combination of conditions of

bond will reasonably ensure the safety of the community. However, the Court does not

conclude there has been a sufficient showing by the preponderance of the evidence that

releasing Mr. Hart would create a serious risk of his nonappearance. Accordingly, the

Court grants the government's motion for Detention to ensure the safety of the community.

                 FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing

by a preponderance of the evidence that release will result in a serious risk of flight. The

Court finds that detention is justified in order to ensure the safety of the community.

       According to the bond report prepared by the office of probation and pretrial

services, Mr. Hart poses a risk of danger to the community due to the nature of the offense,

violent behavior history, criminal history, and the pending charge. Based on all of the

information presented at the hearing, the Court agrees. Of particular importance to the

Court is the nature of the offense, the strength of the evidence, and the evidence presented

that Mr. Hart was involved in a shooting with the gun.




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                                     CONCLUSION

       Based upon the evidence presented, the United States has made a clear and

convincing showing that no condition or combination of conditions of bond will reasonably

ensure the safety of the community. Accordingly,

       IT IS HEREBY ORDERED that:

       1.     The motion of the United States for detention of Mr. Hart is granted;

       2.     Mr. Hart is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       3.     Mr. Hart shall be afforded reasonable opportunity to consult privately with

his lawyer; and

       4.     Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which Mr. Hart is confined shall deliver him to the

United States Marshal for the purpose of appearance in connection with a court proceeding.


Dated: July 22, 2022                      s/David T. Schultz
                                          The Honorable David T. Schultz
                                          United States Magistrate Judge




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